             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                 Civil Action No. 1:17-CV-932

KIMBERLY CASH, DANNY
CASH, GRETTA ELLER, EMILY
CASH, TESS STRYK, KATE
JENKINS-SULLIVAN, LAURA
ADAIR, ALLISON HEWITT,
NINA TROY AND TARYN
MCFADDEN, individually,
and CAITLYN COUNCILMAN,
SOMMER FANNEY, DARBY                    JOINT STIPULATION OF
KOZAN, KATHERINE HOLT,                VOLUNTARY DISMISSAL WITH
MARIELLA COSCIA, and                          PREJUDICE
OLIVIA WINDER ,
individually and on behalf
of all those similarly
situated;

                Plaintiffs,

GUILFORD COLLEGE AND THOMAS
PALOMBO, in his individual
and official capacity,

                Defendants.




    NOW COME Plaintiffs and Defendants, by and through counsel,

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, and hereby stipulate that all claims in this civil

action against Defendant Thomas Palombo, in both his official

and individual capacities, are dismissed with prejudice.               The

Parties agree that, except as otherwise set out in the Consent




    Case 1:17-cv-00932-WO-JLW Document 41 Filed 05/06/19 Page 1 of 4
Decree entered in this Action, all costs and fees shall be

taxed to the party incurring same.


Respectfully submitted this the 6th day of May 2019.


                                 /s/ Felice M. Duffy
                                 Felice M. Duffy
                                 Duffy Law, LLC
                                 129 Church Street, Suite 310
                                 New Haven CT 06510
                                 Tel.: (203) 946-2000
                                 Fax: (203) 907-1383
                                 Email: felice@duffylawct.com
                                 Federal Bar No.: ct21379

                                 Robert Ekstrand
                                 NC Bar No. 26673
                                 Ekstrand & Ekstrand LLP
                                 110 Swift Avenue, Second Floor
                                 Durham, NC 27705
                                 Tel (919) 416-4590
                                 Fax (919) 416-4591

                                 Attorneys for Plaintiffs

                                /s/ Julie Theall Earp___________
                                Julie Theall Earp
                                N.C. State Bar No. 13732
                                jearp@foxrothschild.com
                                Alexander L. Maultsby
                                N.C. State Bar No. 18317
                                amaultsby@foxrothschild.com
                                Patrick M. Kane
                                N.C. State Bar No. 36861
                                pkane@foxrothschild.com




                                   2



    Case 1:17-cv-00932-WO-JLW Document 41 Filed 05/06/19 Page 2 of 4
                            FOX ROTHSCHILD LLP
                            300 North Greene Street, Suite
                            1400
                            Greensboro, NC 27401
                            Telephone: (336) 378-5331
                            Facsimile: (336) 433-7460

                             Attorneys for Defendants




                               3



Case 1:17-cv-00932-WO-JLW Document 41 Filed 05/06/19 Page 3 of 4
                      CERTIFICATE OF SERVICE


I hereby certify that on May 6, 2019, I electronically

filed the foregoing with the Clerk of the Court using the

CM/ECF system, which will send notification to all parties.



                                 /s/ Felice M. Duffy_____
                                 Felice M. Duffy
                                 Federal Bar No.: ct21379




                                   4



    Case 1:17-cv-00932-WO-JLW Document 41 Filed 05/06/19 Page 4 of 4
